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   8
   9                         UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
                                  SOUTHERN DIVISION
  11
       SERENA FLEITES,                        CASE NO. 2:21-CV-04920-CJC-ADS
  12
                   Plaintiff,
  13                                          DISCOVERY DOCUMENT:
             v.                               REFERRED TO MAGISTRATE
  14                                          JUDGE AUTUMN D. SPAETH
       MINDGEEK S.A.R.L.; MG
  15   FREESITES, LTD; MINDGEEK              JOINT SUPPLEMENT – MOTION TO
       USA INCORPORATED; MG                  COMPEL DEFENDANT MINDGEEK
  16   PREMIUM LTD.; MG GLOBAL               ENTITIES’ RESPONSES TO
       ENTERTAINMENT INC.; 9219-             PLAINTIFF’S FIRST REQUEST FOR
  17   1568 QUEBEC, INC.; BERND              PRODUCTION OF DOCUMENTS AND
       BERGMAIR; FERAS ANTOON;               INTERROGATORIES
  18   DAVID TASSILLO; COREY
       URMAN; VISA INC.; COLBECK
  19   CAPITAL DOES 1-5;                      Jurisdictional Discovery Cutoff:
       BERGMAIR DOES 1-5                      May 1, 2023
  20
                   Defendants.
  21
  22
  23
  24
  25
  26
  27
  28

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   1                                 JOINT SUPPLEMENT
   2 I.      PLAINTIFF’S SUPPLEMENTAL BRIEF
   3         The Court’s direction at the last conference was productive. Plaintiff and the
   4 MindGeek Entity Defendants (“MGED”) have engaged in an extensive meet and
   5 confer process involving multiple conferences, one of which was transcribed (Doyle
   6
       Decl., Exhibit 16) to permit the parties to fully consider and understand each other’s
   7
       positions for subsequent discussions, multiple emails and correspondence, and an
   8
       iterative memorandum summarizing the parties’ evolving disputes, representations,
   9
       and agreements up to hours before filing. (Doyle Decl., Exhibit 15). As a result, the
  10
       vast majority of issues have been resolved by the MGED agreeing to make
  11
  12 substantial additional productions, including emails, or otherwise making written
  13 representations sufficient for the Plaintiffs.
  14         What remains open are narrow categories of limited information that are
  15 nevertheless critical to the alter ego issue and the specific questions posed for which
  16 Judge Carney directed discovery. These narrow categories of information are as
  17 follows:
  18       A.       MG Freesites and MG Premium Expense Payments to Non-
  19                Consolidated Entities
  20         Throughout this case, the MGED have focused myopically on just one of the
  21
       important variables in the alter ego equation: whether the various consolidated
  22
       MindGeek entities are operated in an integrated fashion and constitute a unified
  23
       business as plaintiff alleges, or separately as the MGED argue. The basic evidence of
  24
       corporate formalities relevant to this issue was the almost exclusive subject of the
  25
       MGED’s productions until motions to compel began, and after the last rounds of meet
  26
  27 and confers that the Court recently directed, the MGED have agreed to produce the
  28 remaining elements of necessary discovery on this issue with one exception noted

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   1 below.
   2         However, the MGED have absolutely maintained to the moment of this filing
   3 that all those corporate documents and financial statements revealing top line profit
   4 and loss and cash flow information for MG Freesites (“Freesites”), MG Premium
   5
       (“Premium”), and MindGeek S.a.r.l. were not just necessary but sufficient for the
   6
       entire alter ego analysis. This is not correct.
   7
             For example, none of the annual financial statements or any of the other
   8
       similar financial periodic reporting documents produced by the MGED identify the
   9
       non-consolidated persons or entities who were paid $100’s of millions in expenses
  10
  11 that left the consolidated entity each year. Thus, it is impossible from all these
  12 documents individually or collectively to investigate in deposition or otherwise
  13 whether any of these $100’s of millions in expense payments were to non-
  14 consolidated related parties and thus, as alleged in the Amended Complaint, “being
  15 bled” out of the company, even though this specific allegation was one of the
  16 allegations into which Judge Carney explicitly Ordered discovery. (See, e.g., Doyle
  17 Decl., Exhibit 17 (excerpts from 2017 MindGeek S.a.r.l. and Freesites financial
  18
       statements showing $228 million in expense payments to non-consolidated
  19
       recipients.))
  20
             Nevertheless, despite agreeing since the last Court conference to make
  21
       substantial additional productions concerning intra-company expense payments and
  22
       allocations in and among MG Freesites and MG Premium and other consolidated
  23
  24 affiliates, the MGED still steadfastly refuse to produce even the identities of the
  25 payees who received these $100’s of millions in expenses.
  26         What plaintiff has requested amounts to a simple historic accounts-payable
  27 print-out for specific categories of expenses identified in the MG Freesites and MG
  28 Premium financial statements and MindGeek S.a.r.l.’s financial statements that

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   1 could be readily produced by even a “mom and pop” grocery store using an off-the-
   2 shelf financial accounting system. For several of the expense categories, Plaintiff
   3 also proposed identifying only non-consolidated entities who received $500,000 in a
   4 given fiscal year. The MGED did not ever propose an alternative they would
   5
       consider.
   6
             The importance of this simple bit of information goes without saying in any
   7
       alter ego case alleging, as Judge Carney noted in Ordering this discovery, that
   8
       revenues were “being bled out” of the company to related parties. But since the last
   9
       conference, it has become even more apparent. Since that time, in the extensive
  10
  11 meet and confers conducted, the MGED have revealed for the first time that these
  12 expenses include expenses paid for bandwidth to a non-consolidated related-party
  13 owned by defendant Bergmair and that there is no contract associated with such
  14 expenses or any documents describing the basis and method of calculating those
  15 expenses. The amounts of these expenses have yet to be produced. And none of
  16 these seemingly undocumented expenses were discoverable from any of the many
  17 categories of documents that the MGED’s counsel trumpeted to the Court during the
  18
       last conference had been produced and were “all that they needed” to know “how
  19
       the money flowed.”
  20
             This undocumented related party business relationship was only discovered
  21
       because the name appeared in an expense reimbursement form produced in this
  22
       action. Although the MGED have promised to produce whatever records exist
  23
  24 about these payments, they have yet to do so.
  25       Similarly, although the MGED previously produced certain lease agreements,

  26 lease abstracts, and lease payment summaries for certain Montreal properties, it was
  27 not until almost March that counsel for defendants Tassillo and Antoon revealed in a
  28 meet and confer that some of these leases were with entities owned in part by

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   1 Antoon and Tassillo. Over the course of 2014-2020 these entities were paid almost
   2 $30 million. Again, none of these seemingly undocumented expenses were
   3 discoverable from any of the many categories of periodic financial reports the
   4 MGED keep representing are alone sufficient for a complete alter ego analysis that
   5
       the Court had Ordered.
   6
             This is best exemplified by transfer pricing studies prepared by Grant
   7
       Thornton that MGED counsel made a centerpiece of her argument at the last
   8
       conference. Despite their extensive reliance on those studies to argue no further
   9
       productions were necessary, during the subsequent meet and confers MGED counsel
  10
  11 conceded that the MGED only possess these studies for 2019 and, in any event, that
  12 these studies only examine certain intra-company transactions limited to those
  13 involving expenses that flowed through a wholly-owned management company to
  14 the operating companies like MG Freesites and MG Premium. Therefore, these
  15 studies would not even include all the intra-company transactions, including most
  16 significantly the largest expenses listed for MG Freesites and MG Premium,
  17 licensing and royalty payments that appear to be paid to related party RT Holdings
  18
       S.a.r.l. owned by defendant Bergmair. Nor would they include any licensing and
  19
       royalty or other expenses that were ultimately paid by some consolidated entity in
  20
       the “money flow” to a non-consolidated entity similar to the individual defendants’
  21
       now disclosed bandwidth and real estate companies.
  22
             In short, as alleged in the Amended Complaint, comparing the financial
  23
  24 statements of MG Freesites and MG Premium to the parent company reveals that
  25 hundreds of millions of dollars in expenses have been paid to non-consolidated
  26 entities over the period in question. None of the documents MGED counsel
  27 referenced at the last conference and continue to do so in the parties’ meet and
  28 confer discussions identify who was the recipient of all those expenses.

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   1         In refusing to provide this information, the MGED have not argued that doing
   2 so would be burdensome, and they cannot because they have acknowledged that the
   3 financial accounting system has such information readily available. Nor have they
   4 even countered with any alternative criteria to limit any purported burden. This
   5
       outright refusal prevents the plaintiff from conducting the most elementary
   6
       examination of this fundamental alter ego issue of whether monies were “bled” out
   7
       of the company to related parties that Judge Carney specifically directed that
   8
       discovery address. For example, plaintiff cannot even put a list of such entities in
   9
       front of the individual defendants in deposition and ask them to identify any in
  10
  11 which they have any interest.
  12       Accordingly, the plaintiff respectfully requests that the Court Order

  13 production of the following:
  14         1. Documents showing the payees for licensing and royalty expenses for MG
  15            Freesites and MG Premium listed on the financial statements and reporting
  16            packages produced in the action by the defendants for MG Freesites and
  17            MG Premium and their ultimate parent, MindGeek S.a.r.l.
  18
             2. Documents showing the payees for “website services” and “other
  19
                expenses” for MG Freesites and MG Premium listed on the financial
  20
                statements and reporting packages produced by the defendants for MG
  21
                Freesites, MG Premium, and MindGeek S.a.r.l. to the extent such payees
  22
                received $500,000 in a fiscal year.
  23
  24         3. Documents showing the payees for “management expenses” for MG

  25            Freesites and MG Premium identified on the financial statements and

  26            reporting packages produced by the defendants for MG Freesites, MG
  27            Premium, and MindGeek S.a.r.l. However, according to the very few
  28            documents produced by the MindGeek Defendants to-date, the entity

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   1              Antoon identified as “MindGeek” in his sworn testimony was actually a
   2              different entity -- RedTube Holdings -- that has no formal corporate
   3              relationship with MindGeek. Those documents also suggest that
   4              Defendant Bergmair owns no interest in MindGeek, and the “over 50%”
   5
                  interest he does own is in RedTube Holdings. Likewise, the “minority”
   6
                  ownership percentage Antoon was referring to for himself was likewise in
   7
                  the same entity. In short, Antoon appears to plainly have identified
   8
                  RedTube Holdings as the alter ego of the Mindgeek Defendants.
   9
  10      The document requests to which this request relates include RFPs 2, 3, 4, 8, 10,
  11 15, 18, 22, 23, 24. (Exhibit 2, Dkt. 261-3)
  12         B.      Other Ownership Interests in the Consolidated MindGeek Entities
  13         Documents produced reference “preferred” shares held by Antoon and
  14 Tassillo in the Canadian management company, defendant 9219-1568 Quebec Inc.,
  15
     that manages the entire MindGeek business and is “wholly” owned by the parent
  16
     defendant MindGeek S.a.r.l. However, the ownership interests reflected in these
  17
     preferred shares are not reflected in the organizational and ownership charts
  18
     produced in this action or ownership calculations in the financial statements
  19
     produced by the MGED that list all consolidated entities. The MGED have now
  20
  21 represented that these preferred shares represent Class B shares held in 9219-1568
  22 Quebec Inc. and that they have included dividends paid out to the individual
  23 defendants under those shares in their compensation disclosures.
  24         However, they have refused to represent whether there are not similar
  25 ownership interests in any of the other consolidated entities identified in the
  26 organizational charts or in the financial statement schedules of consolidated entities.
  27 Plaintiff agreed not to seek the corporate formation documents or financial
  28
       statements for these entities, or detailed records of the money flowing through these
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   1 entities, on the representation that the organizational charts and financial statements
   2 identified all ownership interests in all consolidated entities. But these documents
   3 did not identify the ownership interest in in 9219-1568 Quebec, Inc. Thus, plaintiff
   4 does not know whether there are other entities or individuals receiving economics
   5
       via similar undisclosed ownership interest in other consolidated entities through
   6
       which MG Freesites and MG Premium revenues flow on their way to the parent.
   7
       The MGED have refused to represent that there are no such other ownership
   8
       interests or distributions paid out of those other entities.
   9
             Accordingly, the Plaintiff asks the Court to Order production of documents
  10
  11 identifying any additional ownership interests held in any of the consolidated
  12 MindGeek entities to the extent there are any.
  13         The document requests to which this request relates include RFPs 2, 3, 4, 10,
  14 11, 15, 21, 24. (Exhibit 2, Dkt. 261-3).
  15         C.     Evidence of Integration, Unity, and Comingling
  16
  17         As noted by the Court’s decisions on the motions to dismiss and discovery
  18
       motions, a fundamental factor in any alter ego analysis is whether the entities
  19
  20 involved were operated in an integrated fashion and observed corporate
  21 separateness. Whether they maintained separate bank accounts and received and
  22
       paid their own expenses from separate accounts or shared expenses and comingled
  23
  24 funds is a critical fact in this analysis. Indeed, the MGED made these very factors
  25 the centerpiece of their motion to dismiss, including submitting a declaration from
  26
     Andreas Andreou testifying that all such entities maintained their own bank
  27
  28 accounts and transacted their business from those accounts. Judge Carney found

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  1 the declaration lacking because, among other reasons, it was “vague and
  2
    conclusory” and its allegations were the topics on which he Ordered discovery.
  3
  4     Defendants have represented in the recent meet and confers that MG Freesites

  5 and MG Premium have their own bank accounts but that some unspecified amount
  6
    of their expenses that they will not disclose are paid from another account held by
  7
  8 one or more other consolidated entities. They have represented that the identity of
  9 the bank account paying the expenses of these entities is maintained in the
 10
    centralized corporate ledger and financial accounting system. However, they have
 11
 12 refused to produce any information from which the Plaintiff could examine whether,
 13 as the MGED argued in their motion to dismiss and asserted in the Andreou
 14
    Declaration, the expenses allocated to these entities were actually paid from these
 15
 16 separate accounts or from accounts controlled by other entities comingled with
 17 revenues and monies from MG Freesites, MG Premium, and other MindGeek
 18
    entities and then just allocated to Freesites and Premium in the financial accounting
 19
 20 system. The MGED have not asserted that producing such information would be
 21 unduly burdensome, or made any proposal to provide sufficient information in a
 22
    manner that would minimize any such burden.
 23
 24      As evidenced by the MGED’s own motion to dismiss, settled law, and Judge
 25 Carney’s decision, whether the expenses allocated to MG Freesites and MG
 26
    Premium were actually paid by them from their own bank accounts or from
 27
 28 comingled accounts of other MindGeek entities and simply allocated to them in the

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  1 financial accounting system is a simple detail of material importance to the alter ego
  2
    issue that would be easy to provide.
  3
  4         Accordingly, the plaintiff requests that the Court Order the MGED to produce
  5 documents sufficient to show from what bank accounts the expenses that are the
  6 subject of this submission were paid.
  7      The document requests to which this request relates include RFPs 2, 3, 4, 8, 10,
  8 15, 17, 18, 19, 22, 23, 24. (Exhibit 2, Dkt. 261-3).
  9       D.     The 2013 Financial Statements and Compensation
 10
            After plaintiff’s prior motion to compel, the MGED ultimately produced an
 11
      almost complete set of transactions documents for the 2013 Management Buy-Out
 12
      (“MBO”) of MindGeek by the individual defendants. The MBO appears to be a
 13
      completely leveraged buy-out with all the assets of the entire MindGeek S.a.r.l. and
 14
      RT Holdings S.a.r.l. corporate families pledged as collateral.
 15
 16      The MGED also produced financial statements, reporting packages, and other

 17 financial information for MindGeek S.a.r.l. and certain of its subsidiaries beginning
 18 in 2014. However, they have not produced these materials for 2013. Likewise, the
 19 MGED ultimately produced documents purporting to show all the economics the
 20 individual defendants received from the MGED or RT Holdings S.a.r.l. since 2014,
 21 but will not produce this information for 2013.
 22    Plaintiff seeks the 2013 financial statements for MindGeek S.a.r.l. and an
 23
      updated chart with payments made to the individual defendants in 2013 to determine
 24
      whether material portions of the loan proceeds were distributed to the individual
 25
      defendants. This issue is directly relevant to the alter ego factors of adequate
 26
      capitalization (which the Andreou Declaration made a centerpiece); whether these
 27
      entities are truly distinct from the individual defendants; and whether it would be
 28

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  1 unjust to not ignore the purported corporate separateness of the entities and the
  2 individual owner defendants. These basic documents are also necessary to have a
  3 complete picture of that transaction and whether the actual transaction as
  4 implemented was consistent with the produced transaction documents and corporate
  5
      resolutions.
  6
         Defendants have not objected to producing these limited documents based on
  7
      undue burden because they cannot as it is obviously not burdensome to produce a
  8
      single year’s financial statements or add a year to the financial distribution
  9
      spreadsheet already produced from the financial accounting system. Instead, they
 10
 11 have asserted specifically that they have produced the information in the 2014
 12 financial statements at notes 4 and 14. However, while these notes describe
 13 generally the use of some of the loan proceeds to pay down the existing loan and
 14 other expenses, they do not account for the entire loan balance or whether any of the
 15 proceeds from that were distributed to the individual defendants.
 16         Accordingly, the Plaintiff asks the Court to Order production of the
 17      following:
 18
            1. The 2013 financial statements and reporting packages for MindGeek
 19
                 S.a.r.l.
 20
            2. Updated charts of distributions and compensation paid to the individual
 21
                 defendants for 2013.
 22
 23      The document requests to which this request relates include RFPs 3, 4, 8, 9, 10,
 24 11-13, 15, 19, 20, 24. (Exhibit 2, Dkt. 261-3)
 25         E.       Timing of Production
 26         Although the MGED have from almost the start of the meet and confer
 27 process and continuing until today, made commitments to produce additional
 28
    documents relevant to the alter ego issue, and these commitments have greatly
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  1 narrowed the remaining issues for the Court’s consideration, they have yet to
  2 produce any of such documents and have represented that it will take them 7-10
  3 days to do so. In addition, after significant work, the parties agreed on a parameters
  4 for searching electronic communication in the last few days, the MGED have
  5
      represented that it will take them 4-5 weeks to produce such materials.
  6
            Absent an immediate production of these materials, it will be impossible to
  7
      complete these productions and depositions by the current deadline. Plaintiffs
  8
      request that the Court direct that the MGED complete their document production in
  9
      14 days and their email production in 4 week, and further direct that the parties meet
 10
 11 and confer on a short extension to complete discovery in light of those deadline and
 12 provide a status report on their positions by April 7, 2023.
 13
 14 II.     THE MINDGEEK ENTITY DEFENDANTS’ SUPPLEMENTAL
 15         BRIEFING1
 16         At the March 8, 2023 hearing on Plaintiff’s Second Motion to Compel
 17 documents related to jurisdictional discovery, the Court advised Plaintiff that she “has
 18 a serious proportionality problem” and that her “requests are overbroad.” Tr. at 100-
 19 01 (attached as Exhibit O). Further, the Court recognized that during the hearing,
 20
      1
 21     The MindGeek Entity Defendants are submitting their supplemental briefing without
      having been provided a copy of Plaintiff’s supplemental briefing in advance. During
 22   a meet and confer on March 24, 2023, counsel for the MindGeek Entity Defendants
 23   asked Plaintiff whether she would be providing her portion of the briefing on March
      25, 2023—at that time, 2 days prior to the briefing due date. Plaintiff’s counsel
 24   refused and stated his belief that the Court was not requiring the Parties to adhere to
 25   the rules for briefing but rather was only seeking a status report from the Parties.
      Declaration of M. Yeary at ¶ 5. Based on the Court’s order requiring briefing and the
 26   Court’s comments at the March 8, 2023 hearing, the MindGeek Entity Defendants
 27   disagree. See Tr. At 105 (Exh. O) (“I want . . . just like our joint stipulation, I will
      leave it up to you guys to determine time frame and how much time to give each
 28   other.”).
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  1 Plaintiff represented that a “decent amount of what was originally a part of the motion
  2 has been resolved and that [plaintiff’s] request is now more limited.” Id. at 101.
  3 Plaintiff was directed to “clearly identify” to Defendants the specific types of
  4 documents or information she was requesting that were still outstanding by March 13,
  5 2023 so that the parties could meet and confer by March 16, 2023. The Court also
  6 gave instructions to the Defendants that, after appropriate tailoring of the requests, the
  7 Court believed additional information remained to be produced by Defendants and
  8 where Defendants were arguing undue burden, they needed to support that claim. The
  9 MindGeek Entity Defendants took the Court’s instructions seriously; Plaintiff did not.
 10         The list of outstanding document requests that the MindGeek Entity Defendants
 11 received on March 13 remained vague and overbroad. For example, Plaintiff’s
 12 requests still included large buckets of non-specific financial data such as “the source
 13 and receipt of revenues;” and “financial information used to prepare the financial and
 14 tax records produced by the MindGeek Defendants.” March 13 Letter from M. Bowe
 15 (attached as Exhibit N). Equally concerning was that Plaintiff’s March 13 list
 16 continued to press for categories of information that have long been produced, such
 17 as inter-company agreements, information concerning the use of loan proceeds, and
 18 financial reporting to lenders. Id. Further, the list included requests that had never
 19 been raised with the MindGeek Entity Defendants at all (Defendant Bergmair’s visits
 20 to MindGeek’s offices in Montreal) and/or were not the subject of Plaintiff’s Second
 21 Motion to Compel (documents concerning the reasons for Messrs. Antoon and
 22 Tassillo’s resignation; search terms and custodians to respond to requests for
 23 documents regarding the Individual Defendant’s direction and implementation of
 24 CSAM-related policies). Id. Plaintiff sent a revised list of issues on Saturday March
 25 25, 2023, containing 20 requests with multiple sub-parts, again raising certain issues
 26 for the first time. See Exhibit Q. Attempting to understand and work through these
 27 issues, the MindGeek Entity Defendants and Plaintiff met and conferred for over six
 28 hours and had additional written exchanges.

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  1         Throughout the evolution of Plaintiff’s requests, she has made minimal efforts
  2 to correct any of the problems identified by the Court – proportionality, overbreadth,
  3 or lack of specificity. In fact, Plaintiff has continued to expand on and add requests
  4 during discussions that were supposed to have been for narrowing and resolving the
  5 issues. Moreover, nowhere in Plaintiff’s revised requests did she “explain[] to . . . the
  6 Defendants how these very broad discovery requests will provide evidence related to
  7 jurisdiction,” which is an explanation that the Court ordered Plaintiff to provide to
  8 both Defendants and the Court because it “was missing in Plaintiff’s original brief.”
  9 Tr. at 105. The explanation “can’t just be it’s jurisdiction. It can’t just be it’s context.”
 10 Id. The nexus to the jurisdictional analysis is critical because jurisdictional discovery
 11 takes place prior to a determination that the Court actually has jurisdiction over
 12 MindGeek, S.a.r.l., and it is particularly important to avoid imposing undue burdens
 13 on a party who may not even be subject to the Court’s power.
 14         While certain issues raised in Plaintiff’s second motion to compel against the
 15 MindGeek Entity Defendants have been resolved, Plaintiff is continuing to press for
 16 large amounts of information which is not relevant to the jurisdictional analysis. As
 17 late as 3:00 p.m. Eastern on the date this Supplemental Briefing is due, the MindGeek
 18 Entity Defendants were unclear as to the issues to be briefed. As of 10:00 p.m. Eastern
 19 Plaintiff was still changing her positions on what she wished to present to the Court.
 20 Notwithstanding the foregoing, based on the last written communication received
 21 from Plaintiff, the MindGeek Entity Defendants understand that the issues left to be
 22 resolved by the Court are as follows:
 23              Documents sufficient to determine whether the licensing and royalty
                  expenses allocated on the financial statements and reporting packages
 24
                  prepared for Freesites and Premium and MindGeek S.a.r.l. to Freesites
 25               and Premium were expenses paid to non-consolidated parties or from
 26               which bank account(s) they were paid.
                      o Response: The MindGeek Entity Defendants have identified all
 27
                        royalty payments paid for the Tubesites, which entities made the
 28                     payments, and which entities received the payments.

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  1             Documents sufficient to determine what non-consolidated parties
  2              received over $500,000 in website operating expenses, management
                 expenses, and other expenses allocated to Premium and Freesites and
  3              from which bank account(s) they were paid.
  4                  o Response: The MindGeek Entity Defendants agreed to provide
  5                    this information for intercompany payments as that request was
                       reasonably tailored to the alter ego analysis. The MindGeek Entity
  6                    Defendants object to producing this information for third party
  7                    vendor payments.

  8             MindGeek S.a.r.l’s financial statements from 2013 and all distributions
                 and compensation to the individual defendants for 2013.
  9
                     o Response: The MindGeek Entity Defendants object to producing
 10                    additional information for 2013 as it is outside the relevant time
                       period, and the information requested regarding the use of loan
 11
                       proceeds is available in the 2013 refinancing documents and 2014
 12                    financial statements already produced.
 13             With respect to payments made by the MindGeek Entity Defendants to
                 the Individual Defendants and entities in which they hold an interest
 14
                     o A representation whether such payments were made from a
 15                    comingled bank account controlled by another entity or from a
 16                    separate bank account held exclusively by the entity to which the
                       payment was allocated in the accounting system.
 17
                     o information showing whether the payments came from a
 18                    comingled bank account controlled by an entity other than the
 19                    entity to which the payments were allocated in the financial
                       accounting system.
 20
                            Response:    The MindGeek Entity Defendants have
 21                          informed Plaintiff that there is no “commingled bank
 22                          account” and agreed to identify the accounts held by the
                             MindGeek Entity Defendants. The MindGeek Entity
 23                          Defendants further informed Plaintiff that in the normal
 24                          course of business, payments made by a particular entity
                             come from the money in that entity’s bank account.
 25
                Documents sufficient to identify any other ownership interests in the
 26              entities identified in the organizational charts produced and the amounts,
 27              if any, distributed to those ownership interests.
                     o Response: The MindGeek Entity Defendants objected to
 28
                       producing additional material about the capital structures of
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  1                       entities other than the MindGeek Entity Defendants, the other
  2                       entities in their corporate ownership chains and the entities
                          involved in the flow of funds for the Tubesites; the MindGeek
  3                       Entity Defendants also objected to identifying distributions, if any,
  4                       to individuals other than the Individual Defendants.

  5               All contracts for webservices for parties paid more than $500,000 in a
                   year and records reflecting where such vendors are providing services,
  6                including the locations of the servers and infrastructure for which
  7                services are being provided, and the amounts paid to each vendor.

  8                    o Response: The MindGeek Entity Defendants object to providing
                         contracts for additional vendors and object to providing the
  9                      amounts paid to outside vendors. Requests for materials regarding
 10                      the locations of servers and IT infrastructure have already been
                         ruled on by the Court.
 11
            A.      DESPITE THE MINDGEEK ENTITY DEFENDANTS’
 12
                    PRODUCTION OF MATERIALS MORE THAN SUFFICIENT
 13
                    TO ADDRESS THE REASONABLE REQUIREMENTS OF THE
 14
                    COURT’S JURISDICTIONAL ANALYSIS, PLAINTIFF’S
 15
                    REQUESTS REMAIN DISPROPORTIONATE TO SUCH
 16
                    ANALYSIS
 17
            Plaintiff’s continued abuse of the jurisdictional discovery process must end. In
 18
      his July 29, 2023 order denying Plaintiff’s request to open discovery, Judge Carney
 19
      set forth how the jurisdictional discovery process should work:
 20
            [Plaintiff] has still persisted in pleading some causes of action of
 21         questionable value to her overall case, and has continued to engage in
 22         scattershot, group pleading, largely failing to identify the MindGeek
            Defendants’ individual roles in causing her harm. The Court recognizes
 23         that Plaintiff’s failure in that regard may be due to the fact that she is
 24         not a MindGeek insider. For that reason, and because Plaintiff has
            alleged enough facts unrebutted by affidavits to raise a colorable
 25         argument that there is personal jurisdiction over the MindGeek
 26         Defendants objecting to jurisdiction, the Court granted jurisdictional
            discovery. (Dkt. 166.) But the Court urges Plaintiff and her counsel to
 27         not use this opportunity to further complicate this case. Jurisdictional
 28         discovery is meant to provide Plaintiff the information she needs to

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  1         make a clear statement regarding the role and conduct of each
  2         MindGeek Defendant separately. The Court does not mean to deter
            Plaintiff from pursuing the individuals and entities that allegedly
  3         harmed her, but if jurisdictional discovery does not yield the
  4         information she needs to clearly define a defendant’s conduct as it
            relates to her harm, then that defendant should simply be dismissed
  5         so this case can proceed without further unnecessary delay.
  6
      [Dkt. 168 at 2 (emphasis added).]       Plaintiff’s problem at this juncture in the
  7
      jurisdictional discovery process is that the evidence does not support the sensational
  8
      allegations contained in her First Amended Complaint. Rather than accept Judge
  9
      Carney’s admonition to dismiss those Defendants challenging jurisdiction if the
 10
      information does not show that their conduct clearly related to her harm (and only one
 11
      MindGeek Entity Defendant, MindGeek S.a.r.l. is now doing so), Plaintiff has
 12
      decided to press for ever more endless document discovery in the belief that
 13
      eventually she will find the evidence she needs to demonstrate either that certain
 14
      Defendants had sufficient jurisdictionally relevant contacts with the forum or show
 15
      that, despite voluminous evidence to the contrary, there was such unity of interest and
 16
      ownership between the MindGeek entities and other evidence to support the alter ego
 17
      theory that the each entity’s distinct corporate identity ceased to exist. See, e.g.,
 18
      Iconlab, Inc. v. Bausch Health Cos., 828 F. App’x 363, 364 (9th Cir. 2020).
 19
            Plaintiff’s latest buzzword in service of her scorched earth crusade is that the
 20
      MindGeek Entity Defendants are improperly “curating” discovery. See Pls. 2nd
 21
      Motion to Compel (Dkt. #261) at 35, 38. But as set forth in detail below, that is not
 22
      the case. To be sure, the MindGeek Entity Defendants attempted to limit their
 23
      production to those documents that are relevant and proportional to the needs of
 24
      jurisdictional discovery. Despite Plaintiff’s repeated protestations to the contrary,
 25
      such limitation is not only appropriate but required by the rules. The MindGeek Entity
 26
      Defendants are simply not required to produce every single document that has ever
 27
      passed through any MindGeek entity to satisfy Plaintiff’s unending complaints about
 28
      their document production. That is not, and never has been, the appropriate standard.
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  1         Notwithstanding the foregoing, the MindGeek Entity Defendants have
  2 produced more than what is relevant and proportional to the needs of the case. For
  3 example, rather than focusing the discovery on Pornhub, the MindGeek Entity
  4 Defendants have produced and agreed to produce material relating to other Tubesites.
  5 Although the paysite, gaming, and cable businesses are not at issue in this case, the
  6 MindGeek Entity Defendants have produced organizational charts and extensive
  7 financial information relating to them.        And although the 2013 financing and
  8 reorganization occurred before the relevant period started, the MindGeek Entity
  9 Defendants produced the “deal binders” for them (as well as the 2018 financing).
 10         Not only have the MindGeek Entity Defendants produced 2392 documents, the
 11 types of documents they have produced are the core financial, accounting, and
 12 corporate organization documents that are routinely used to conduct an alter ego
 13 analysis. See SelfHelpWorks.com, Inc. v. 1021018 Alberta Ltd., 2010 WL 11684790,
 14 at *3 (S.D. Cal. Dec. 20, 2010) (request for “all” of defendant’s bank account monthly
 15 statements is overbroad and seeks irrelevant information in relation to its alter ego
 16 allegations); see also TC Skyrocket, LLC v. Superskyrocket, LC, 2007 WL 1110723,
 17 at *1 (S.D. Cal. March 29, 2007) (finding tax returns, asset disclosures, and financial
 18 statements of individual defendants relevant to alter ego determination but sustaining
 19 objections to subpoenas for defendant’s bank records). Among other things, the
 20 MindGeek Entity Defendants have produced:
 21       Audited financial statements. See Exhibit A (2014 audited consolidated
           financial statement for MindGeek S.a.r.l.); Exhibit B (2014 audited financial
 22
           statement for MG Freesites Ltd).
 23
          Corporate organizational charts and a Step Memo explaining the 2013
 24        reorganization. See Exhibit C.
 25       Financial reporting packages that contain balance sheets and cash flow
           statements for each MindGeek entity, as well as auditors’ notes. See Exhibit D
 26
           (exemplar reporting package from 2014).
 27       Financial reporting packages that contain profit and loss statements for each
 28        MindGeek line of business and product. See Exhibit E (exemplar from 2014

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  1         reporting package showing P&L for Tubesites).
  2       A report from the financial accounting system identifying the payors and
  3        recipients of dividends for each year from 2014 to 2020. See Exhibit F.

  4       A report from the financial accounting system identifying all compensation
           paid to the three former employee Individual Defendants from their employer
  5        9219-1568 Quebec Inc. See Exhibit G.
  6       A report from the financial accounting system identifying all dividend
           payments made by 9219-1568 Quebec Inc. to the three former employee
  7
           Individual Defendants for the Class B shares each held in that entity. See
  8        Exhibit H.
  9       A report from the financial accounting system of all expense payments made
           to Individual Defendant Bergmair. See Exhibit I.
 10
          Reports from the financial accounting system of all payments made to entities
 11
           in which Defendants Antoon and Tassillo have ownership interests, for leased
 12        office space. See Exhibit J.
 13       Tax returns for RT Holding S.a.r.l., MG Holdings USA Corp., 9219-1568
           Quebec Inc., 9279-2738 Quebec Inc., Licensing IP International S.a.r.l., MG
 14        CY Holdings Ltd, MG Freesites Ltd, MG Freesites, S.a.r.l., MG Premium Ltd,
 15        MG Premium S.a.r.l., MG Technologies Ltd, MindGeek RK S.a.r.l., and
           MindGeek S.a.r.l. (These are not attached as exhibits due to volume.)
 16
          The complete transactional documents for the 2013 and 2018 reorganizations
 17        and debt refinancings (These are not attached as exhibits due to volume, but
 18        see the Flow of Fund Agreement for the 2013 refinancing, attached as Exhibit
           K.)
 19
          Articles of Incorporation, as amended, for 9219-1568 Quebec Inc., describing
 20        Class B and other shares in that entity. See Exhibit L.
 21       Intercompany agreements and related documents:
 22            o the inter-company service agreements for MG Premium and MG
 23              Freesites (as recipients of services) and 9219-1568 Quebec, MG Global
                 Entertainment Inc., MG CY Holdings Ltd, and MG Cyprus Ltd (as
 24              providers of services to the Tubesites);
 25            o the server cost sharing agreements between MG Cyprus Ltd, MG
 26              Premium and MG Freesites;
               o the licensing agreements governing the licensing of IP for the Tube Sites;
 27
                 and
 28            o the Transfer Pricing Studies that cover the service agreements and IP
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  1                agreements between entities that are in different jurisdictions (the
  2                agreements are not attached due to volume, but see Exhibit M (excerpt
                   from Transfer Pricing Study for MG Freesites Ltd)).
  3
            In addition to the foregoing, the MindGeek Entity Defendants will be producing
  4
      by next week, all of the following:
  5
                 A report from the financial accounting system identifying the royalty
  6
                  payments made by MG Freesites Ltd, MG Freesites Ltd II, and MG
  7               Content RT Ltd, the entities that operate the Tubesites, to Licensing IP
                  International S.a.r.l. and MG Ex-US S.a.r.l. pursuant to the terms of the
  8
                  licensing agreements already produced;
  9
                 A report from the financial accounting system identifying payments to
 10               Bulknet, a company that conducts business with MindGeek and in which
                  Defendant Bergmair has an ownership interest;
 11
                 A debt pay-down schedule;
 12
                 Documents identifying the amounts MG Freesites Ltd, MG Freesites II
 13               Ltd, and MG Content RT Ltd paid other MindGeek Entities for the
 14               website operating expenses and other expenses identified in their
                  financial statements;
 15
                 Vendor agreements with third parties who provide domain servers for
 16               the MindGeek entities;
 17              Financial bridge documents provided to lenders to explain differences
 18               between the financial reporting packages and the audited financial
                  statements;
 19
                 Final year-end balance sheets for 2014-2020 that reflect reconciliations
 20               made after the periodic reporting statements were issued to management
 21               and lenders;
 22              A step memo explaining the 2018 reorganization;

 23              Tax returns and audited financial statements for MG Freesites II Ltd and
                  MG Content RT Ltd; and
 24
                 Financial statements for RT Holding S.a.r.l.
 25
            These produced or soon-to-be-produced documents provide Plaintiff with
 26
      detailed information in response to each of her requests that are reasonably tailored,
 27
      limited to the relevant time period, and tied to the jurisdictional or alter ego analysis.
 28

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  1         B.    PLAINTIFF’S REMAINING REQUESTS ARE
  2               DISPROPORATIONATE TO THE COURT’S
  3               JURISDICTIONAL ANALYSIS
  4
  5         1.    The MindGeek Entity Defendants Will Produce Detailed Royalty
                  Payments for the Tubesites
  6
            Plaintiff’s Request: Documents sufficient to determine whether the licensing
  7
  8 and royalty expenses allocated on the financial statements and reporting packages
  9 prepared for Freesites and Premium and MindGeek S.a.r.l. to Freesites and Premium
 10 were expenses paid to non-consolidated parties or from which bank account(s) they
 11 were paid.
 12         Plaintiff’s request for more information on royalty payments directly disregards
 13 the discovery provided to date. With respect to licensing and royalty payments made
 14 in relation to the Tubesites (Pornhub, YouPorn, Tube8, and RedTube), the MindGeek
 15 Entity Defendants have agreed to produce exactly what Plaintiff has requested—
 16 information about the entities who made and received those payments. The only
 17 portion of this request that remains in dispute is whether the MindGeek Entity
 18 Defendants should be required to provide the licensing and royalty payments made
 19 by MG Premium Ltd for MindGeek websites that are not relevant to Plaintiff’s claims.
 20         The two MindGeek Entities that own the intellectual property associated with
 21 the Tubesites are Licensing IP International S.a.r.l. (“LIPI”) and MG Ex-US S.a.r.l.
 22 (MG Ex-US). The MindGeek Entity Defendants have produced the intellectual
 23 property licensing agreements that show that these entities licensed the intellectual
 24 property for the Tubesites to MG Freesites II Ltd, MG Content RT Ltd, and MG
 25 Freesites Ltd.      That intellectual property includes both the free sites (i.e.
 26 Pornhub.com) and the premium sites associated with the same names (i.e.
 27 Pornhubpremium.com) as reflected in the licensing agreements. MG Premium Ltd
 28 does not license or operate Pornhub.com, Pornhubpremium.com, or any of the other

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  1 Tubesites or their premium versions.
  2         The MindGeek Entity Defendants have agreed to produce information showing
  3 the amount LIPI invoiced to and was paid by each of MG Freesites II Ltd, MG Content
  4 RT Ltd, and MG Freesites Ltd for the relevant years (2014-2020). The information
  5 shows the specific entity who was invoiced and the amount of the invoice. These
  6 represent the amounts paid to LIPI from each entity for the fees due under the
  7 licensing agreements. The MindGeek Entity Defendants also informed Plaintiff that
  8 each of these entities maintains its own bank accounts and that payments made for
  9 these expenses are made from those accounts to the accounts of LIPI. The MindGeek
 10 Entity Defendants have agreed to produce the exact same information for the amounts
 11 MG Ex-US invoiced to these entities for the fees due to it under the licensing
 12 agreements. This is a complete response to Plaintiff’s request insofar as it relates to
 13 the website on which she alleges her content was available, Pornhub, and the other
 14 Tubesites.
 15           Plaintiff has not alleged that her content was made available on websites
 16 operated by MG Premium Ltd, referred to as paysites. As stated by Judge Carney in
 17 his ruling on the scope of jurisdictional discovery:
 18         Plaintiff does allege that MG Premium owns and operates certain MindGeek
            paid sites (FAC ¶ 22), but it is not clear from the FAC that Plaintiff’s videos
 19
            were placed on any of MindGeek’s premium sites.
 20
      Fleites v. MindGeek, S.A.R.L., 2022 WL 4455558, *2 n.3 (C.D. Cal. July 29, 2022).
 21
      That remains true, in part because Plaintiff has been unwilling to provide the
 22
      information requested by the MindGeek Entity Defendants that would allow them to
 23
      conduct an appropriate search of their records. There remains no supported allegation
 24
      that Plaintiff’s videos appeared on a MindGeek paysite operated by MG Premium
 25
      Ltd. Therefore, information related to those paysites is not relevant to the specific
 26
      jurisdictional analysis.
 27
 28         Plaintiff, however, is not without information regarding the amounts MG

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  1 Premium Ltd has paid in royalty fees for the intellectual property it licenses; however,
  2 the information she has is not down to the invoice level because that degree of detail
  3 is not proportional to claims or defenses in this case. The amounts MG Premium Ltd
  4 paid for royalties are provided in its audited financial statements. The amounts paid
  5 in intercompany royalties for each MindGeek product are also shown on the profit
  6 and loss statements produced. Therefore, the MindGeek Entity Defendants have
  7 produced or will produce by next week, the detailed royalty and licensing payment
  8 information Plaintiff has requested for the Tubesites and has produced information
  9 for other intellectual property in the financial statements and packages.
 10         2.    Plaintiff’s Request for Payments to Third Parties is Not Relevant to
                  the Alter Ego Analysis.
 11
           Plaintiff’s Request: Documents sufficient to determine what non-consolidated
 12 parties received over $500,000 in website operating expenses, management expenses,
 13 and other expenses allocated to Premium and Freesites and from which bank
    account(s) they were paid.
 14
 15        The MindGeek Entity Defendants have agreed to produce extensive

 16 information about intercompany payments because Plaintiff stated that she wanted
 17 more detail to understand the flow of funds between the MindGeek entities and
 18 whether funds were improperly commingled. Plaintiff’s requests for similar
 19 information about payments made by MG Freesites Ltd, or any other MindGeek
 20 entity, to outside vendors, however, are not connected to the alter ego analysis and
 21 are therefore disproportionate to the current issue before the Court.
 22         Pursuant to the intercompany service agreements already produced, Plaintiff is

 23 aware that certain MindGeek entities, such as 9219-1568 Quebec Inc., MG CY
 24 Holding Ltd, MG Cyprus Ltd, and MG Premium Ltd, provide(d) services to MG
 25 Freesites Ltd. The audited financial statements for MG Freesites Ltd contain
 26 information regarding the amount it incurs in website service expenses and other
 27 expenses. See Exhibit B, at 30. Those expenses are in large part for the services
 28 provided by these other MindGeek entities. The audited financial statements also

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  1 report how much of those website operating expenses and other expenses are paid to
  2 related parties—other MindGeek entities. Id. at 32 (showing that over 80% of the
  3 expenses were paid to related parties).       Plaintiff asked the MindGeek Entity
  4 Defendants to provide a breakdown of the specific entities to whom MG Freesites Ltd
  5 pays those expenses. So, the MindGeek Entity Defendants have agreed to produce
  6 documents that show how much MG Freesites Ltd paid to 9219-1568 Quebec Inc.,
  7 MG CY Holding Ltd, MG Cyprus Ltd, and MG Premium Ltd for website operating
  8 expenses. Those same documents also show how much other MindGeek entities, like
  9 MG Premium Ltd., paid for website operating expenses. Those documents will be
 10 produced by next week.
 11         The MindGeek Entity Defendants understood Plaintiff’s request for this
 12 additional internal expense payment information as possibly related to alter ego and
 13 therefore agreed to produce additional information. However, Plaintiff’s request for
 14 payments to outside vendors is not related to personal jurisdiction. The exact
 15 identities of the external companies who receive those payments and the exact
 16 amounts paid to each outside vendor have nothing to with an appropriate alter ego
 17 analysis. Nonetheless, the total amount that MG Freesites Ltd pays to external
 18 vendors as a result of doing business can be derived from the financial information
 19 already provided: if 80% is paid to MindGeek entities, then 20% is not.
 20         Plaintiff has argued that she needs information about who the outside vendors
 21 are and how much has been paid to them to determine whether undisclosed payments
 22 to the Individual Defendants were made. But that reasoning fails. Plaintiff asked the
 23 MindGeek Entity Defendants to identify any entities with which they conduct
 24 business and in which one of the Individual Defendants has an ownership interest.
 25 The MindGeek Entity Defendants disclosed the names of those entities and the
 26 amounts paid to those entities. Plaintiff has refused to accept the MindGeek Entity
 27 Defendants’ representation that there are no other such related-party entities with
 28 which they do business. But obtaining more information from the MindGeek Entity

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  1 Defendants about the business they and their affiliates conduct with third parties will
  2 not address any concern she has about whether there has been adequate disclosure of
  3 related party transactions. If she has doubts about such disclosure, the appropriate
  4 approach would be to ask questions of the Individual Defendants. Accordingly,
  5 Plaintiff’s request for additional information about third party vendors should be
  6 denied.
  7         3.     Additional Financial Information from 2013 is Outside the Relevant
                   Time Period and Disproportionate to the Needs of the Case
  8
  9         Plaintiff’s Request: MindGeek S.a.r.l’s financial statements from 2013 and all
 10 distributions and compensation to the individual defendants for 2013.
 11         The MindGeek Entity Defendants objected to Plaintiff’s requests for material
 12 relating to their financing agreements because it is neither relevant nor proportional
 13 to the needs of the case. To the extent Plaintiff sought the 2013 financial agreements,
 14 the MindGeek Entity Defendants also objected on the grounds that the request sought
 15 material outside the relevant time period. Notwithstanding the foregoing, the
 16 MindGeek Entity Defendants agreed to produce the complete set of transactional
 17 documents for the 2013 refinancing, hoping that would resolve Plaintiff’s request. It
 18 did not.
 19       What the MindGeek Entity Defendants or their affiliates did with loan proceeds
 20 they received has nothing to do with the jurisdictional analysis. Even if it did, Plaintiff
 21 already has extensive information regarding the 2013 loan proceeds and her request
 22 for more is disproportionate to the needs of the case. The earliest Plaintiff alleges
 23 content depicting her appeared on a MindGeek website is June 2014. Therefore, for
 24 purposes of the jurisdictional analysis, that is the start of the relevant time period.
 25 Plaintiff has not challenged that date cutoff except as to the 2013 loan proceeds.
 26         In 2013, MindGeek S.a.r.l. acquired a majority ownership interest in Manwin
 27 RK S.a.r.l. which changed its name to MindGeek RK S.a.r.l. See Exhibit A at 30.
 28 This transaction gave rise to the corporate structure of the MindGeek group from 2013

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  1 to 2018. Accordingly, the MindGeek Entity Defendants produced the complete set of
  2 transactional documents for the 2013 acquisition and related corporate reorganization,
  3 even though those transactions occurred before the relevant time period. Plaintiff also
  4 requested, and the MindGeek Entity Defendants produced, the complete set of
  5 transactional documents for the 2013 refinancing. The 2013 refinancing documents
  6 contain a Flow of Funds Agreement that documents the exact flow of the proceeds
  7 from the loans. See Exhibit K. That document shows at each step what proceeds
  8 were used to “pay off existing first lien lenders,” “pay off interest & standby fee due
  9 to lenders,” “pay off exiting existing seller notes,” the payment of loan related “fees
 10 and expenses,” and how much was wired to the purchaser’s account, how much was
 11 wired to the borrower’s account, and how much was wired to the seller of Manwin
 12 RK S.a.r.l. Id.
 13         Furthermore, the 2014 consolidated audited financial statement for MindGeek
 14 S.a.r.l. contains notes that detail both the reorganization and the refinancing. Note 4
 15 explains the acquisition of Manwin RK S.a.r.l. and Note 14 describes the loans
 16 incurred in 2013. Exhibit A at 30-32, 46-48. Therefore, Plaintiff has significant
 17 detailed information regarding how the proceeds of the 2013 refinancing were
 18 utilized.     Her request for additional 2013 financial statements and distribution
 19 information is not reasonably tailored to provide information relevant to the
 20 jurisdictional analysis or the alter ego analysis, especially in light of the significant
 21 information already produced.
 22         4.     The MindGeek Entity Defendants Have Produced Extensive
                   Information Related to Payments to the Individual Defendants and
 23
                   Related Parties
 24      Plaintiff’s Request: With respect to payments made by the MindGeek Entity
 25 Defendants to the Individual Defendants and entities in which they hold an interest:
 26               A representation whether such payments were made from a comingled
                   bank account controlled by another entity or from a separate bank
 27                account held exclusively by the entity to which the payment was
 28                allocated in the accounting system, and

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  1             information showing whether the payments came from a comingled bank
  2              account controlled by an entity other than the entity to which the
                 payments were allocated in the financial accounting system.
  3
            Plaintiff makes two requests in this category. First, she asked the MindGeek
  4
      Entity Defendants to represent that the payments made to the Individual Defendants
  5
      and their related entities did not come from a commingled account. The MindGeek
  6
      Entity Defendants have so represented because there is no single, “commingled”
  7
      account for the MindGeek entities. Each entity has its own bank account. Second,
  8
      she asks for information on “commingling.” The MindGeek Entity Defendants have
  9
      agreed to identify the banks at which each MindGeek Entity Defendant had accounts.
 10
      Beyond that, this appears to be a request by Plaintiff for bank statements, a request
 11
      that the MindGeek Entity Defendants have objected to from the beginning based both
 12
      on undue burden and lack of proportionality. To the extent Plaintiff’s request is for
 13
      bank statements, which is unclear, Plaintiff previously represented that she would
 14
      take, as a substitute, relevant information from the MindGeek Entity Defendants
 15
      accounting system as that would obviate the need to review hundreds of monthly bank
 16
      statements. Yeary Decl. at ¶ 7. The MindGeek Entity Defendants have since
 17
      produced, and agreed to produce even more, extensive information from their
 18
      financial accounting system only to now have Plaintiff argue that is not good enough.
 19
      See Exhibit F (a report showing dividend payments), Exhibit G (a report showing
 20
      compensation to the Individual Defendants), Exhibit H (a report showing dividend
 21
      payments to the Individual Defendants), Exhibit I (a report showing expense
 22
      payments to Defendant Bergmair), Exhibit J (a report showing payments to entities in
 23
      which Defendants Antoon and Tassillo have ownership interests). These reports
 24
      identify the entities making and receiving payments; Plaintiff refuses to accept that.
 25
            During the meet and confers that took place over the past week or so, Plaintiff
 26
      represented that if the MindGeek Entity Defendants represented that they maintain
 27
      their own bank accounts, that would resolve the issue.         The MindGeek Entity
 28

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  1 Defendants so represented. Notwithstanding the foregoing, Plaintiff wants more, but
  2 has again failed to clearly articulate what that more is. Moreover, Plaintiff has failed
  3 to explain what this additional information would provide that has not already been
  4 provided by the production of detailed financial statements, see Exhibits A, B, D, &
  5 F, which include cash flow statements and financial statements containing
  6 information verified by the auditors about the cash reported on those statements.
  7 Anything more is not needed for the alter ego analysis and would be disproportionate.
  8
            5.     The MindGeek Entity Defendants Have Disclosed All Ownership
  9
                   Interests Held by Defendants and All Distributions to Defendants
 10
            Plaintiff’s Request: Documents sufficient to identify any other ownership
 11
      interests in the entities identified in the organizational charts produced and the
 12
 13 amounts, if any, distributed to those ownership interests.
 14         The MindGeek Entity Defendants are confused by Plaintiff’s request. The
 15 MindGeek Entity Defendants have disclosed to Plaintiff that Defendants Antoon,
 16 Tassillo, and Urman held Class B Shares in 9219-1568 Quebec Inc. and provided
 17 Plaintiff with the amounts of the distributions to those Defendants in respect of those
 18 shares. Exhibit H. During the meet and confers over the last two weeks, Plaintiff
 19 asked several questions about the classes of shares held in all MindGeek entities and
 20 the MindGeek Entity Defendants pointed Plaintiff to the incorporation documents
 21 produced that identify the various entities’ share structures. The MindGeek Entity
 22 Defendants have also objected to producing information about the share class
 23 structures for all entities in the MindGeek group since Plaintiff’s claims do not relate
 24 to all of those entities.
 25         After many hours of meet and confers, the Plaintiff asked for information about
 26 whether any MindGeek entity made distributions to any non-defendant, individuals.
 27 The MindGeek Entity Defendants objected to this request on the grounds that the
 28 information sought is not relevant to the Court’s jurisdictional analysis.

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  1         As of 3:00 P.M. Eastern the afternoon this brief was due, the MindGeek Entity
  2 Defendants did not believe Plaintiff intended to seek a ruling from the Court on
  3 distributions to non-defendant individuals. At that time, Plaintiff represented that she
  4 sought to have the MindGeek Entity Defendants disclose for all MindGeek entities
  5 whether distributions were made to non-defendants in respect of shares in a
  6 MindGeek entity, and, if so, the gross amount of those distributions. Plaintiff
  7 represented that, unless the amount was very large, she did not need to know the
  8 identities of the recipients of the distributions or how much each received
  9 individually. Counsel for the MindGeek Entity Defendants indicated it was willing
 10 to make that request to its clients, but given the time of day would not be able to get
 11 a response before this brief was due. Counsel will so discuss the issue and report to
 12 Plaintiff next week. Yeary Decl. at ¶ 8.
 13         6.    Requests for Vendor Contracts and Payments is Disproportional
                  and Not Connected to the Jurisdictional or Alter Ego Analyses.
 14
 15         Plaintiff’s Request: All contracts for webservices for parties paid more than
 16 $500,000 in a year and records reflecting where such vendors are providing services,
 17 including the locations of the servers and infrastructure for which services are being
 18 provided, and the amounts paid to each vendor.
 19
           The MindGeek Entity Defendants refer back to their arguments in Section B.2
 20
    regarding expense payments to third party vendors. The same is true for this specific
 21
    request for contracts and payments to IT vendors. Once again, the MindGeek Entity
 22
    Defendants acquiesced to Plaintiff’s request for the production of contracts with
 23
    certain vendors who provide servers for the MindGeek entities. Once again, that was
 24
    not enough for Plaintiff. She has offered no justification for this additional request
 25
    other than what she offered in relation to other third-party expenses—namely, that
 26
    she seeks information about additional vendor contracts and payments to determine
 27
    whether the MindGeek Entity Defendants have made adequate disclosures about
 28
    transactions with related parties. Because Plaintiff’s request for such information will
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  1 not shed light on related party transactions, it should be denied for the same reasons
  2 discussed above.
  3         Further, to the extent Plaintiff’s request continues to seek information regarding
  4 server locations and IT infrastructure, that request was raised in Plaintiff’s First
  5 Motion to Compel and was ruled on. The Court ordered the MindGeek Entity
  6 Defendants to provide server location information, and they did. The Court denied
  7 Plaintiff’s request for IT infrastructure information. Accordingly, Plaintiff’s request
  8 should be denied on the grounds it seeks material that is neither relevant nor
  9 proportionate to the jurisdictional issues before the Court. (Dkt. # 260).
 10
 11 III.    CONCLUSION
 12         A.     PLAINTIFF’S CONCLUSION
 13         For the foregoing reasons, Plaintiff respectfully requests that the Court grant
 14 Plaintiff’s motion, and order the MindGeek Entity Defendants to produce the
 15 requested documents so that the Court may have the full benefit of the very discovery
 16
      that it ordered when determining the jurisdictional issues before it.
 17
 18
            B.     MINDGEEK ENTITEY DEFENDANT’S CONCLUSION
 19
 20
            The MindGeek Entity Defendants have produced, and have agreed to produce
 21
 22 in short order, extensive financial and corporate structure information responsive to
 23 Plaintiff’s requests.    Plaintiff, however, continues to press vague, unsupported
 24
      requests for documents without making the requisite showing regarding their nexus
 25
 26 to the jurisdictional issues before the Court. Accordingly, Plaintiff’s motion to
 27 compel should be denied.
 28

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 28

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